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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF ALASKA


UNITE HERE NATIONAL RETIREMENT                   )   No. 3:06-cv-00239-RRB
FUND, LONDON PENSIONS FUND                       )
AUTHORITY and JEFFREY PICKETT,                   )   STIPULATION FOR EXTENSION OF TIME
Derivatively on Behalf of BP P.L.C., BP          )   TO RESPOND TO DEFENDANTS’ MOTION
AMERICA, INC., BP OIL CO. INC. and BP            )   TO DISQUALIFY COUNSEL AND
EXPLORATION (ALASKA) INC.,                       )   [PROPOSED] ORDER THEREON
                                                 )
                             Plaintiffs,         )
                                                 )
        vs.                                      )
                                                 )
THE LORD JOHN BROWNE OF                          )
MADINGLEY, et al.,                               )
                                                 )
                             Defendants,
                                                 )
        – and –                                  )
                                                 )
BP P.L.C., et al.,                               )
                                                 )
                       Nominal Defendants.       )
                                                 )
                                                 )




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        WHEREAS this shareholder derivative action was commenced on October 2, 2006, in the

Superior Court for the State of Alaska, Third Judicial District at Anchorage (“Alaska State Court”);

        WHEREAS nominal party BP America Inc. (later joined by all defendants and all other

nominal parties) removed this action to this Court on October 24, 2006;

        WHEREAS the Court entered a stipulated order on October 31, 2006, deferring the filing of

defendants’ responses to the action and anticipated motions to dismiss, stay and/or to transfer until

plaintiffs’ anticipated remand motion is decided;

        WHEREAS on November 17, 2006, defendants filed a motion to disqualify James E. Fosler

as counsel for plaintiffs (the “Disqualification Motion”);

        WHEREAS on November 22, 2006, plaintiffs moved to remand this action back to Alaska

State Court (the “Remand Motion”); and

        WHEREAS the briefing on the Remand Motion is not complete but the parties agree the

Disqualification Motion should be decided by the court which ultimately assumes jurisdiction over

the action;

        THE PARTIES, through their respective counsel, hereby stipulate as follows and seek the

Court’s approval that:

        1.        Defendants’ Disqualification Motion (Docket No. 33) be held in abeyance until after

the Court decides plaintiffs’ Remand Motion (Docket No. 36).

        2.        If the Court denies plaintiffs’ Remand Motion and retains jurisdiction, plaintiffs shall

have 10 days from the date of the Court’s order to respond to the Disqualification Motion.




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        3.        If the Court grants the Remand Motion and the case is transferred back to the Alaska

State Court, defendants may re-file their Disqualification Motion in the Alaska State Court.

        IT IS SO STIPULATED.

DATED: December 4, 2006                            FELDMAN ORLANSKY & SANDERS
                                                   JEFFREY M. FELDMAN
                                                   Alaska Bar No. 7605029


                                                                /s/ Jeffrey M. Feldman
                                                              JEFFREY M. FELDMAN

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                                                   John L. Warden (N.Y. Bar No. 6918)
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                                                   John Browne; John H. Bryan; John G.S.
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                                                   Castell; Rodney F. Chase; Paula J. Clayton; Iain
                                                   C. Conn; Erroll B. Davis, Jr.; Debra A. Dowling;
                                                   Douglas J. Flint; William Douglas Ford; Alastair
                                                   M. Graham; Byron E. Grote; Anthony B.
                                                   Hayward; Deanne S. Julius; Charles F. Knight;
                                                   Floris A. Maljers; Robert A. Malone; Neil R.
                                                   McCleary; Thomas F.W. McKillop; John A.
                                                   Manzoni; Stephen Marshall; Walter E. Massey;
                                                   H. Michael P. Miles; Robin B. Nicholson;
                                                   Richard L. Olver; Chris J. Phillips; Ross J.
                                                   Pillari; Daniel B. Pinkert; Debra A. Plumb;
                                                   Stanley P. Presley; Ian M.G. Prosser; Ian
                                                   Springett; Peter D. Sutherland; and Michael H.
                                                   Wilson; and nominal defendants BP p.l.c.; BP
                                                   America Inc.; and BP Exploration (Alaska) Inc.



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DATED: December 4, 2006                    FOSLER LAW GROUP, INC.
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                                           Alaska Bar No. 9711055


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                                           Attorneys for Plaintiffs

                                      *     *        *

                                          ORDER

        IT IS SO ORDERED.



DATED: _________________________
                                          THE HONORABLE RALPH R. BEISTLINE
                                          UNITED STATES DISTRICT JUDGE




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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on
the 4th day of December 2006 a true and correct
copy of this document was served by electronic
means through the ECF system on all counsel
who have entered an appearance in this case.

By:    /s/ James E. Fosler
James E. Fosler, ABA #9711055
Fosler Law Group, Inc.




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